IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DISABILITY RIGHTS PENNSYLVANIA, :
Plaintiff
V. : Civil Action No. 1:19-cv-00062-SPB

ERIE COUNTY, PENNSYLVANIA,

Defendant.

CONSENT DEGREE

WHEREAS on March 8, 2019, Plaintiffs filed this tawsuit alleging that

Defendant violated 42 U.S.C. §1983, the Protection and Advocacy for

Individuals with Mental Illness Act (PAIMI Act), 42 U.S.C. §§ 10801-10827,
and the Developmental Disabilities Assistance and Bill of Rights Act (DD

Act), 42 U.S.C, 88 15041-15045, by failing to provide Plaintiffs with access

to the records of T.L., an individual with a disability;

WHEREAS Plaintiffs and Defendant desire to settle this lawsuit
amicably and to avoid the risks and expense of further litigation;

NOW, THEREFORE, the Parties enter into this Consent Decree.

1. Defendant will release all records in their custody, possession

and contro! relating to T.L., including, but not limited to, alf records

1 2 EXHIBIT

indicated in Plaintiff's original December 10, 2018 records request letter:

including:

All documents, written and electronic, including video;

All documents related to dependency history, including all
court records and orders and docket sheets;

Ail documents relating to placement notes/reports,
professional evaluations (including, but not limited to
psychiatric, neuropsychological and educational) and
profiles;

All documents identifying and/or describing T.L.’s
disabilities and history of treatment/services/supporis and
assessments or screens (including CANS or FAST
screens), and

All documents and communications relating to efforts to
identify placements, including, but not limited to

acceptances or rejections, referrals, and notes.

Disability Rights Pennsylvania assumes the responsibility for

maintaining the confidentiality of all Defendant’s records which it is granted

access to pursuant to this consent decree, including, but not limited to the

need to make appropriate redactions if and when the documents are
disclosed to others.

2. Defendant will release the documents in Paragraph 1 no later
than 21 days after approval of this consent decree by the Court.

3. Nothing in this Consent Decree forecioses Disability Rights
Pennsylvania from petitioning the Court for an award of attorneys’ fees and
costs in connection with this litigation and nothing in this Consent Decree
forecloses any defenses to such a petition that may be asserted by Erie
County. Plaintiff will have 30 days after the Court's Order approving this
Consent Decree to file any motion for fees and costs.

4. All of the records will be shared digitally. Defendant will charge
a fee of $0.25 (twenty-five cents) per page for the scanning of any of the
released documents which have not yet been digitized and will not charge
a fee the for the release of documents that were digitized prior to this
request.

5. Except as provided by the release in Paragraph 8, this Consent
Decree in no way limits Plaintiff's rights granted to it under the PAIMI or DD
Acts; nor does it limit Plaintiff's access to any additional or otherwise
missed records specifically relating to T.L. in the Defendant's custody,

control, or possession se long as those records would be accessible under

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the PAIMI or DD Acts; nor does this Consent Decree limit whatever rights
Plaintiff has to obtain records from Defendant for any other individual or
individuals protected by the PAIMI or DD Acts.

6. This Consent Decree is subject to the Court's agreement to
approve it, incorporate it by reference in an order, and retain continuing
jurisdiction to interpret and enforce it. If the Court declines to do so, the
Consent Decree will be null and void, and Plaintiffs claims will be
reinstated in the same posture as at the date the Consent Decree was
executed.

7. Within ten (10) days of the execution of the Consent Decree,
the Parties will submit a proposed Order to the Court that: (a) approves the
Consent Decree, dismisses the Plaintiff's claims and incorporates the
Consent Decree by reference in the Order; and (b) provides that the Court
will retain continuing jurisdiction to interpret and enforce the Consent
Decree.

8. Plaintiff may file a motion to remedy any alleged violation of the
Consent Decree, provided that it gives written notice to Defendant's
counsel! at least fourteen (14) days prior to filing such motion.

9. This Consent Decree will terminate within ninety (90) days after

the date if ts executed, provided that there is no pending motion pursuant to

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Paragraph 8 of the Consent Decree or other pending activity in the
litigation. In the event that there is a pending motion pursuant to Paragraph
8 of the Consent Decree or other pending activity in the litigation on the
date it is due to terminate, the Consent Decree will terminate when the
motion or activity is fully resolved by the Parties or the courts.

10. As of the date the Court dismisses the Plaintiff's claims in.
accordance with this Consent Decree, the Plaintiff, on its own behalf and
on behalf of its successors, agenis, employees, and assigns, fully and
forever releases and discharges Defendant, including its officers,
employees, insurers, affiliates, offices, divisions, predecessors, successors,
and assigns, from any and all actions, claims, causes of action, suits,
liabilities, debts, accounts, contracts, agreements, torts, controversies,
judgments, damages, and demands relating to any claim that the Plaintiff
asserted in the above-captioned litigation concerning Defendant's failure to
provide Plaintiff with the above listed records for T.L. This release,
however, does not preclude the Plaintiff from seeking judicial intervention to
remedy violations of this Consent Decree prior to its termination as

provided from the prior paragraph, or to file a motion to recover attorneys'

fees and costs.

11. The Parties each acknowledge that no promise or inducement
which is not herein expressed has been made. This Consent Decree
contains the sole and entire agreement between the Parties and compietely
and fully supersedes and replaces any and ail prior contracts, agreements,
discussions, representations, negotiations, understandings, and any other
communications between the Parties pertaining to the subject matter
thereof, and the Parties represent and acknowledge that they have not
relied upon any such statements or understandings that are not expressly
set forth in this Consent Decree.

12. No party is deemed the drafter of this Consent Decree. The
Parties have had an opportunity to review and consult with their counsel
about its contents.

13, This Consent Decree may be executed in counterparts.

14. This Consent Decree does not constitute an admission of
liability by Defendant or a concession by Plaintiff as to the validity of any
defense, nor does it constitute an adjudication on the merits of Plaintiffs
claim.

15. By signing below, the signatory for the Defendant represents
and warrants that s/he has full authority to bind Defendant in this matter

with respect to all terms contained in this Consent Decree.

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16. The parties agree that the Effective Date of this Consent
Decree shall be the latest date on which it is executed by a Party; provided
that defendant must execute this Consent Decree no later than seven (7)

days after Plaintiff has executed it.

DISABILITY RIGHTS PENNSYLVANIA

By: “. enacts, etathe 28 Dated: S/o fs
Name: “Lee: SN hs hau ae

Title: Ci

COUNTY OF ERIE

by, Ko MLA WSs Dated: S}¢/ 14
Name: Reuaay WuPeewnes

Title: CW WEE Covwrn Salieri,

